       Case 1:18-cr-00101-PAC      Document 22      Filed 10/15/18    Page 1 of 1




RECEIVED VIA EMAIL ON OCTOBER 11, 2018


Dear Judge Crotty,

I am Casey’s first cousin and I am writing on behalf of the Antone family. Casey is my
younger cousin and I have known him all his life. All the Antones grew up in the Detroit
area, and we were very close family. Early on in life we all knew how smart Casey was
and the potential he had to be anything he wanted to be. We had always told him to
focuse his energy on positive and productive things, and most importantly legal
things. Many years have gone by in the past where we have not heard from
Casey. We have never stopped missing him or living him. We were all saddened to
hear that he was in trouble after returning back to the United States. We have only
recently have been hearing from him and reestablishing our relationship with him.
Everybody were so happy to hear from Casey again. But not everybody was ready to
welcome him with open arms. We all want the best for Casey. And we want to help
him make something of his life. He is going to turn 46 years old at the end of October,
2018. I have personally had told him this is his last chance to become something in
life. I would like to ask for your lineancy and mercy when sentencing Casey later this
month. Prison is not a place that we want to see him, and we would like to see him
outside as soon as possible. Thank you very much your Honor.

John Antone
